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                                AFFIDAVIT

     I, Tyler Abrego, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint against Jasveen SANGHA (“SANGHA”) for a violation of

Title 21, United States Code, Section 841(a)(1): Possession with

Intent to Distribute Methamphetamine.

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only, all amounts

or sums are approximate, and all dates and times are on or about

those indicated.

                       II. AFFIANT’S BACKGROUND

     3.      I am a sworn Special Agent of the United States Drug
Enforcement Administration (“DEA”) and am an investigator or law
enforcement officer of the United States within the meaning of
Title 18, United States Code, Section 2510(7), who is empowered
to conduct investigations of, and to make arrests for, the
narcotics offenses enumerated in Title 18, United States Code,
Section 2516.
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     4.     I have worked for DEA since May 2023.       I am currently
assigned to Enforcement Group 2 at DEA’s Los Angeles Field
Division.   Enforcement Group 2, which investigates narcotics
trafficking, including investigations related to medical
personnel and others diverting and/or illegally prescribing
controlled substances, as well as money laundering violations
under Titles 18 and 21 of the United States Code.          Group 2 is
comprised of special agents from the DEA, and local law
enforcement personnel designated as Task Force Officers.
     5.     In conducting major narcotics investigations, I have
become aware of many techniques utilized by narcotics
traffickers.    I have learned that these individuals utilize
various tactics to avoid detection and/or apprehension by law
enforcement officials.     Techniques used by members of these
organizations include the use of multiple locations,
utilizations of numerous co-conspirators, the use of pay
telephones, multiple cellular telephones, and the use of other
techniques to conceal communications, including the use of
encrypted messaging applications and email platforms, such as
Protonmail.
                   III. SUMMARY OF PROBABLE CAUSE

     6.     During an investigation being conducted by the DEA,

United States Postal Inspection Service, and LAPD homicide

detectives, SANGHA was identified as a narcotics dealer.           On

March 19, 2024, law enforcement personnel conducted a search

warrant at SANGHA’s residence located in North Hollywood,

California.    During the search, law enforcement seized

significant quantities of illegal drugs, including approximately



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1,978 grams of orange pills that field tested positive for

methamphetamine, 79 bottles containing a clear liquid that field

tested positive for ketamine, and various other suspect

narcotics.    As discussed below, law enforcement also seized cell

phones belonging to SANGHA, which contained additional evidence

related to SANGHA’s drug trafficking activities, including

conversations related to selling pressed methamphetamine pills

and ketamine.

                    IV. STATEMENT OF PROBABLE CAUSE

     A.      SANGHA Possessed Significant Quantities of Narcotics
             Inside Her Home, Including Methamphetamine and
             Ketamine

      7.     On March 7, 2024, the Honorable Stephanie Christensen,
 United States Magistrate Judge for the Central District of
 California, authorized warrants to search SANGHA’s person and
 residence (the “Federal Warrants”).        See Case Nos. 2:24-MJ-
 01320 and 2:24-MJ-01321.
      8.     On March 19, 2024, law enforcement personnel executed
 the Federal Warrants at SANGHA’s residence.         At the time,
 SANGHA was present at the residence with a male later
 identified as J.T.     Evidence found within the apartment
 confirmed it was SANGHA’s residence, including mail addressed
 to SANGHA, women’s clothing in the closet and within the
 apartment, identification documents, a medical insurance card,
 and multiple receipts referencing SANGHA’s name.          Among the




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 identification documents found was a passport in SANGHA’s name
 issued by the United Kingdom. 1
         9.   During a search of the residence, law enforcement
 identified two bedrooms.      SANGHA and J.T. were first
 encountered in the master bedroom, where agents found a green
 journal with hand written notes that appeared to detail
 thousands of dollars in drug transactions, including sale
 prices and weights.      Inside the master bedroom, agents also
 found user quantities of suspected drugs and a firearm inside
 of the closet. 2
         10. Inside of another bedroom in the residence, law
 enforcement officers found the following: approximately 1,978
 gross grams of orange pills that field tested 3 presumptive
 positive for methamphetamine, approximately 79 bottles of a
 clear liquid that field tested presumptive positive for
 ketamine, 41 grams of pills suspected of being MDMA, 2,127
 grams of pills suspected of being Xanax, 426 grams of
 substances suspected of being Ketamine, 323 grams of a
 substance suspected of being psilocybin mushrooms, and 128
 grams of suspected cocaine.      During the search, law enforcement
 also found a money counter, a scale that appeared to be covered
 in drug residue, a wireless signal and hidden camera detector,



     1 Based on information obtained during the investigation, I
know that SANGHA has dual citizenship (U.S. and the United
Kingdom) and that she has recently traveled internationally.
     2 The firearm was registered to J.T., who stated the gun
belonged to him.
     3 A TruNarc handheld narcotics analyzer is a portable device
used by the DEA to conduct a preliminary test to determine the
presence of illegal drugs.

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 and drug packaging materials. The following is a photograph of
 the narcotics seized during the search:




     B.     Evidence on SANGHA’s Phone Shows She Is A Large Volume
            Drug Dealer.

         11. Pursuant to the Federal Warrants, law enforcement
 seized two phones belonging to SANGHA. 4 During a preliminary
 search of one of the phones, law enforcement discovered




     4 Based on a preliminary review of the phone, agents
identified evidence linking SANGHA to the devices. Multiple
messages are in the phone where the owner of the phone is
identified as “jas”. There are also photographs depicting what
I know are SANGHA’s hands holding suspected drugs and video
files narrated by a voice that I recognize as SANGHA’s.

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 multiple chat threads within an encrypted messaging application
 called Signal 5 that related to SANGHA selling drugs.
     12.     For example, on March 8, 2024, SANGHA communicated

with a phone number ending in -7628 about SANGHA selling 100

“oranges” and “base”.     Based on my training and experience,

“oranges” is a term commonly used to describe pressed

methamphetamine pills (like those found inside SANGHA’s

residence), which are manufactured to look like authentic

Adderall pills.    I also know based on my training and

experience, “base” and “K” are terms commonly used to refer to

Ketamine.

     13.     Between March 10 and March

18, 2024, SANGHA also communicated

with a phone number ending in -6122

about shipping vials of ketamine to

the buyer.    In the chat thread, SANGHA

sent photos of the ketamine packaging

and a photo of the shipping receipt,
noting “I think you’ll like these but

remember they’re double strength.”




     5 Based on my training and experience, known drug
traffickers use Signal and similar messaging applications due to
the enhanced encryption coding of the applications, and the
applications ability to automatically delete messages after a
timeframe set by the user.

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     14.    SANGHA’s phone also contained video files related to

drug trafficking, including videos in which a voice I recognize

as SANGHA’s describes “cooking” ketamine while she boils liquid

ketamine in a pot on a stove top to convert it to powder

ketamine.




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                             V. CONCLUSION
     15.   For all the reasons described above, there is probable

cause to believe that SANGHA violated Title 21, United States

Code, Section 841(a)(1): Possession with Intent to Distribute

Methamphetamine.



                                                /s/
                                        Tyler Abrego, Special Agent
                                        Drug Enforcement
                                        Administration

Subscribed to and sworn before me
this 20th day of March, 2024.



THE HONORABLE STEVE KIM
UNITED STATES MAGISTRATE JUDGE




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